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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 WUHAN HEALTHGEN BIOTECHNOLOGY )
 CORPORATION and HEALTHGEN            )
 BIOTECHNOLOGY CO., LTD.,             )
                                      )
                   Plaintiffs,        )
                                      )
      v.                              )     C.A. No. 24-318 (RGA)
                                      )
 EXPRESSTEC LLC, VENTRIA              )
 BIOSCIENCE INC., and INVITRIA, INC., )
                                      )
                   Defendants.        )


       DEFENDANTS’ LETTER TO THE HONORABLE RICHARD G. ANDREWS
                REGARDING PROTECTIVE ORDER DISPUTE



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 July 2, 2024
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 Dear Judge Andrews:

         Defendants ExpressTec LLC and InVitria, Inc. (f/k/a Ventria Bioscience, Inc.),
 collectively referred to as “InVitria,” have largely agreed with Plaintiffs on the contents of a
 Protective Order to limit the dissemination of confidential documents, ESI, and other information
 exchanged in discovery. But as shown in Exhibit 1, the parties disagree about the levels of
 protection to be included in the Order.

         Due to the highly sensitive, proprietary nature of the research and development in the
 industry and the history and degree of competition between the parties, InVitria respectfully
 requests that the Court enter a Protective Order that includes not only the standard “Confidential”
 and “Highly Confidential” levels of protection, but also a third “Special Handling” level that
 further limits the dissemination of the most sensitive information about the parties’ research and
 development, product formulations, and methods—similar to the protections this Court extends
 to computer source code in appropriate cases.

 History of relations between InVitria and Plaintiffs

        InVitria is a pioneer and leader in the field of plant-based expression of recombinant
 proteins. InVitria has developed a product family of serum-free, animal-free products that
 improve the performance and safety of biologic drug manufacturing and final product
 formulation, without any of the ethical or zoonotic pathogen concerns of products derived from
 animal and human sources—such as fetal bovine serum, which is the most widely used growth
 supplement for cell-culture media. InVitria’s recombinant human serum albumin (“rHSA”)
 products have a wide variety of uses in medical research and treatment. (See D.I. 13 ¶¶ 12–17.)

        InVitria has obtained patent protection for its many innovations in rHSA products. In its
 counterclaims, InVitria asserts that Plaintiffs’ rHSA products infringe InVitria’s U.S. Patent No.
 11,492,389. (Id. ¶¶ 57–61.) InVitria has also sued Plaintiffs in the United States District Court
 for the District of Kansas for infringing two patents in the same family as the ’389 patent.
 However, InVitria does not patent many of its internal R&D and manufacturing processes and
 procedures, but instead maintains as closely protected trade secrets. The patent claims asserted
 by Plaintiffs relate entirely to internal non-public processing practices.

        From 1999 to 2005, InVitria employed Dr. Daichang Yang as a Postdoctoral Researcher,
 Senior Scientist, and Lab Director. Since he voluntarily left InVitria in 2005 to return to China,
 Dr. Yang has worked at Wuhan University of Technology and co-founded or controlled Chinese
 companies, including Plaintiffs. Under Dr. Yang’s leadership, Plaintiffs have produced and sold
 rHSA products that the ITC has determined infringe a patent in the ’389 patent family.

         Dr. Yang and his associates have used proprietary information obtained from InVitria to
 commercialize technologies and file patent applications in China and the United States. In
 addition, Dr. Yang is part of the “Thousand Talents Plan,” an effort by the Chinese central
 government to recruit Chinese citizens who were educated abroad in science and technology
 fields. Law-enforcement and counterintelligence agencies in the U.S. and other countries have
 raised concerns about the program as a vector for intellectual-property theft and espionage.




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         In 2018, the FBI announced criminal indictments against two Chinese rice researchers for
 stealing rice seeds from InVitria and another research facility during a U.S. visit. (See Exhibit 2.)
 Importantly, InVitria and Plaintiffs are essentially the only manufacturers of rice-derived rHSA
 in the world and are direct competitors.

         In sum, InVitria is a verified victim of theft by a foreign actor. Moreover, Plaintiffs have
 built their rHSA business on the back of InVitria’s proprietary technology and have targeted
 InVitria’s customers through economically unrealistic pricing and other malicious practices.

 InVitria’s proposed Special Handling category

         InVitria proposes that the Protective Order include a third, more stringent “Special
 Handling” designation for information such as formulations, proprietary manufacturing
 information and technology, product research and development records, and other information
 that the Producing Party in good faith believes would cause severe harm to the Producing Party
 or others’ competitive position if disclosed. (Ex. 1 ¶ 6.)

         Under InVitria’s proposal, Special Handling Material would be provided to the Receiving
 Party only at the offices of the Producing Party’s outside counsel of record on a stand-alone
 computer not connected to the Internet or any local network. (Id. ¶¶ 17.a–b.) Access would be
 limited to outside counsel of record and an outside consultant or expert—all of whom must be
 U.S. citizens and U.S. residents. (Id. ¶ 17.c.) Except as necessary to comply with the Court’s
 rules, procedures, and orders, no electronic copies of Special Handling Material would be
 permitted without the Producing Party’s written consent. (Id. ¶ 17.e.)

         A limited number of printouts and photocopies on colored paper would be permitted,
 with a requirement that the Receiving Party maintain a log of all such copies. (Id. ¶ 17.f.) Copies
 of Special Handling Material kept by outside counsel or experts would be required to be stored in
 secured locked areas. (Id. ¶ 17.g.) Exhibits including Special Handling Material or pleadings
 quoting such exhibits would be required to be filed under seal and appropriately marked. (Id.
 ¶¶ 17.c–d.) And Special Handling Material could not be emailed or transmitted electronically
 over a network, except to the extent electronic service of pleadings is required, which would
 occur via encrypted FTP. (Id. ¶¶ 17.h.)

        These Special Handling procedures will help ensure that the most sensitive information is
 not inadvertently disclosed to others who could benefit from its disclosure. Although InVitria
 does not believe Plaintiffs’ outside U.S. counsel would knowingly disseminate protected
 information to Plaintiffs or other foreign competitors, the Special Handling procedures will
 ensure that bad actors in China have no opportunity to access InVitria’s proprietary information
 by breaching Plaintiffs’ attorneys’ information-storage and security systems.

 Argument and Authority

        InVitria’s proposed Special Handling restrictions are similar to and consistent with
 provisions this Court and others in the District have included in protective orders to limit the
 review and dissemination of computer source code. (See, e.g., Exhibit 3, Protective Order, No.
 11-770-RGA, at 12–21; Exhibit 4, Protective Order, No. 13-1835-RGA, at 15–21; Exhibit 5,
 Revised Protective Order, No. 18-366-WCB, at 14–17.)


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         Source code “requires additional protections to prevent improper disclosure because it is
 often a company’s most sensitive and most valuable property.” Drone Techs., Inc. v. Parrot S.A.,
 838 F.3d 1283, 1300 n.13 (Fed. Cir. 2016). Although the exchange of computer source code is
 not implicated by the patents-in-suit in this case, information regarding InVitria’s (and
 Plaintiffs’) confidential, proprietary methods of developing and synthesizing rHSA products is
 the company’s most sensitive and valuable property. Thus, InVitria’s proposed additional
 protections to prevent the improper disclosure are appropriate.

         During the negotiations that led to this dispute, Plaintiffs took particular issue with
 InVitria’s proposal to limit review and possession of Special Handling material to citizens and
 residents of the United States. While Plaintiffs may attempt to paint this as xenophobia,
 InVitria’s desire to prevent dissemination of its most sensitive proprietary information to non-
 U.S. citizens or residents is entirely rational, given the previous theft and misappropriation of its
 proprietary rHSA technology by Dr. Yang and other Chinese nationals. Moreover, by requiring
 U.S. citizenship and residency, this Court will have the power to issue orders that maintain
 control over the parties’ most commercially sensitive information.

         This Court has previously honored protective orders that prohibit foreign use and
 dissemination of highly confidential source-code materials. E.g., Via Vadis Controlling GmbH v.
 Skype, Inc., No. 12-193-RGA, 2013 WL 646236, at *3 (D. Del. Feb. 21, 2013). Such a restriction
 should be imposed here. Should either party later identify a particularized need for a non–U.S.
 citizen or resident to review or possess Special Handling material, the party should seek the
 opposing party’s consent or, if necessary, relief from the Court.

 Remaining areas of disagreement

          Nearly all the differences between Plaintiffs’ and InVitria’s proposed Protective Order
 provisions relates to InVitria’s Special Handling proposal. The only exceptions are the
 competing proposals in paragraph 16, “Disclosure.” (Exhibit 1 at 11–12.) InVitria proposes that
 paragraph 16 simply list the categories of persons to whom Confidential Information may be
 disclosed. Plaintiffs propose additional language in paragraphs 16.a, b, and c that places
 restrictions on the activities of outside counsel of record, in-house attorneys, and party
 representatives, respectively.

         This language is redundant to provisions in paragraphs 10–11, “Use.” (Id. at 7–9.) Thus,
 it need not be included in identifying the individuals to whom Confidential information may be
 disclosed. Indeed, paragraph 11.d expressly provides that “[t]he restrictions in this paragraph
 apply only to individuals,” not to firms or organizations. Accordingly, InVitria respectfully
 requests that the Protective Order include InVitria’s proposed “Disclosure” provisions.




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                                             Respectfully,

                                             /s/ Jeremy A. Tigan

                                             Jeremy A. Tigan (#5239)

 JAT:lo
 Enclosures
 cc:    All Counsel of Record (via e-mail)




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